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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR07-289-MJP
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   MICHAEL J. KEYES,                    )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Commit an Offense Against the United States, Theft of

15                         Firearms from a Federal Firearms Licensee

16 Date of Detention Hearing:     Initial Appearance, November 29, 2007

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant is before this Court pursuant to a Writ of Habeas Corpus ad

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 Prosequendum, having previously been in the custody of the Warden of the Washington

02 corrections Center at Shelton, Washington.

03          2.     The issue of detention is essentially moot, since defendant would be transferred

04 back to state custody if released. The defendant does not contest detention.

05          3.     There does not appear to be any condition or combination of conditions that will

06 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

07 to other persons or the community.

08 It is therefore ORDERED:

09          (1)    Defendant shall be detained pending trial and committed to the custody of the

10                 Attorney General for confinement in a correction facility separate, to the extent

11                 practicable, from persons awaiting or serving sentences or being held in custody

12                 pending appeal;

13          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

14                 counsel;

15          (3)    On order of a court of the United States or on request of an attorney for the

16                 Government, the person in charge of the corrections facility in which defendant is

17                 confined shall deliver the defendant to a United States Marshal for the purpose of

18                 an appearance in connection with a court proceeding; and

19 / / /

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     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

02               counsel for the defendant, to the United States Marshal, and to the United States

03               Pretrial Services Officer.

04         DATED this 29th day of November, 2007.



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06                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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